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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF LOUISIANA

RAYMOND E. HECK, DOUG HAMLEY, §
CHARLES MOORE, JOSEPH MCKEARN, — §_ CIVIL ACTION NO. 07-21-RET-CN
ALLEN RICHARDSON s

S JUDGE BRIAN A. JACKSON
VERSUS :
KENNETH K. BUHLER AND * MAGISTRATE CHRISTINE NOLAND
WAYNE TRICHE

ALTERNATIVE JURY INSTRUCTION NO. 20

Those who have no direct contact with plaintiffs in a securities case in connection with
the subject purchases of securities can only be held liable in violation of §10(b) in limited
circumstances. Such parties are referred to as secondary actors or aiders and abettors. To prove
their respective claims under theories of aider and/or abettor liability on the part of Wayne
Triche, each plaintiff must prove that false statements explicitly attributed to Wayne Triche were
known to them at the time of their investment. The requisite “explicit attribution” is necessary to

prove reliance as required under Rule 10(b)(5).

Affco Investments 2001, L.L.C. v. Proskauer Rose, L. 625 F.3d 185 (Sth Cir. 2010.)

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